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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

NATIONAL RAILROAD PASSENGER *

CORPORATION (AMTRAK)
* CrviL ACTION No. 1:22-cv-01043

PLAINTIFF,

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*
SUBLEASE INTEREST OBTAINED PURSUANT
TO AN ASSIGNMENT AND ASSUMPTION .
OF LEASEHOLD INTEREST, made as of January
25, 2007, with said property interest *
PERTAINING TO DESCRIBED LEASEHOLD

INTERESTS AT WASHINGTON UNION *
STATION , et al. \
*
DEFENDANTS.
*
* * * * * * * * * * * * * *
STIPULATED JUDGMENT

The Court, having been advised that the parties to this action have stipulated to the amount
of just compensation and that all other disputes between the parties have been settled and resolved,
it is this 7th day of March, 2025, |

ORDERED AND ADJUDGED based on the stipulation of the parties and the withdrawal
by the defendants of any objection to Amtrak’s exercise and use of its eminent domain powers,
specifically 49 U.S.C. §24311, Amtrak is vested as of April 14, 2022, with absolute title free of all
claims and liens to the interest that Union Station Investco obtained from Union Station Venture
Il, LLC by an Assignment and Assumption of Leasehold Interest made as of January 25, 2007
(“Subject Property Interest”); and it is further

ORDERED AND ADJUDGED that, as stipulated by the parties, Amtrak shall make

payments of additional just compensation for the taking totaling $255 million, with this amount
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including interest through the date of this Order and payment for all related claims, which Amtrak
will pay pursuant to the terms of the parties’ separate Settlement Agreement; and it is further

ORDERED that all other claims and defenses in this action are dismissed as settled and
any pending motions are denied as moot; and it is further

ORDERED that each party shall bear its own costs, expenses, and attorneys’ fees; and it is
further

ORDERED, the Court will retain jurisdiction to address any issues under the separate
settlement agreement.

ORDERED that this case ‘js administratively CLOSED.

Date: March 7, 2025

